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                                                June 26, 2024



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 The Honorable Leonard P. Stark
 U.S. Court of Appeals for the Federal Circuit
 717 Madison Place, NW
 Washington, D.C. 20439

                    Re:       Crystallex International Corp. v. Bolivarian Republic of Venezuela
                              No. 1:17-mc-00151-LPS

 Dear Judge Stark:

                Please see below the public dial-in line for members of the public to listen into the
 in-person hearing scheduled for July 2, 2024 at 3:30 p.m. in Wilmington, Delaware:

                    Dial In: 301-715-8592
                    Passcode: 969060
                    Meeting ID: 814 0597 2504

                                                    Respectfully submitted,

                                                    /s/ Alexandra M. Cumings

                                                    Alexandra M. Cumings (#6146)

 cc:      All Counsel of Record
